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                    IN THE UNITED STATES DISTRICT COURT FOR
                         THE MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

SYDONNA PERSAD,

      Plaintiff,                                             Case No.:

v.

MERCANTILE ADJUSTMENT BUREAU, LLC,
a New York Limited Liability Company,

      Defendant.
_________________________________________/

            COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL

                                          INTRODUCTION

1.    This is an action for damages brought by an individual consumer for Defendant’s

      violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq (hereinafter

      “FDCPA”), and the Florida Consumer Collection Practices Act, Fla. Stat. § 559.55, et seq

      (hereinafter “FCCPA”); these laws prevent debt collectors and “persons” from, inter alia,

      engaging in abusive, deceptive, harassing, and unfair collection practices.

                                   JURISDICTION AND VENUE

2.    Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), 28 U.S.C. §§ 1331, 1337,

      1367, and Fla. Stat. § 559.77(1).

3.    Venue lies in this District pursuant to 28 U.S.C. § 1391(d), as a substantial part of the

      events or omissions giving rise to the claim occurred in this judicial district.

                                             PARTIES

4.    Plaintiff, SYDONNA PERSAD (hereinafter “Plaintiff”), is a natural person who is

      domiciled in the county of Hillsborough, state of Florida, and is a “consumer” as that




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      term is defined by 15 U.S.C. § 1692a(3) and Fla. Stat. § 559.55(2), and is also a person

      with standing to bring a claim under the FDCPA by virtue of being directly affected by a

      violation of the Act.

5.    Defendant, MERCANTILE ADJUSTMENT BUREAU, LLC (hereinafter “Defendant”),

      is a limited liability company organized under the laws of the state of New York, with its

      principal place of business located at 6390 Main Street, Suite 160, Williamsville, New

      York 14221. In the regular course of its business, the principal purpose of which is the

      collection of debts, Defendant uses instrumentalities of interstate commerce, and the

      mails. Further, Defendant received assignment of this debt after Plaintiff had allegedly

      defaulted to the original creditor. Lastly, Defendant’s business activities in Florida

      involve collecting or attempting to collect consumer debt from debtors located in Florida

      by means of interstate communication originating from outside of Florida.

                                     FACTUAL ALLEGATIONS

6.    On or about November 21, 2011 Plaintiff received a call from a female representative of

      Defendant.

7.    The caller identified herself as calling from Defendant, Mercantile Adjustment Bureau.

8.    The caller asked Plaintiff some identifying questions.

9.    After identifying Plaintiff, the caller advised that she was calling Plaintiff in reference to

      a consumer debt originally owed to Washington Mutual Bank.

10.   It is alleged that this debt was incurred for Plaintiff’s family, personal, or household

      purposes.

11.   During this conversation the caller advised Plaintiff that a judgment had been entered

      against Plaintiff.




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12.    Upon information and belief, no judgment has been entered against Plaintiff in any court

       of law regarding the underlying debt originally owed to Washington Mutual.

13.    Further, upon information and belief, no lawsuit has even been filed against Plaintiff in

       any court of law regarding the underlying debt originally owed to Washington Mutual.

14.    All acts or omissions of the employees/agents of Defendant were performed within the

       scope of their respective employment/agency with Defendant.

15.    Defendant’s false representations that a judgment had been entered against Plaintiff were

       violative of the FDCPA and the FCCPA.

16.    As a result of Defendant’s false and misleading representations, Plaintiff suffered actual

       damages in the forms of fear and stress.

                                        CLAIMS FOR RELIEF

                                              -Count I-
                    Violations of the Federal Fair Debt Collection Practices Act

Plaintiff repeats, realleges, and incorporates by reference paragraphs 1 through 16.

17.    The foregoing acts and omissions of Defendant and its employees/agents constitute

       numerous and several violations of the FDCPA, including, but not limited to, 15 U.S.C.

       §§ 1692d generally, 1692e generally, 1692e(4), 1692e(5), 1692e(10), and 1692f

       generally.

18.    As a result of the above violations of the FDCPA, Plaintiff is entitled to recovery for

       actual damages, statutory damages, and attorney’s fees and costs.

                                              -Count II-
                    Violations of the Florida Consumer Collection Practices Act

Plaintiff repeats, realleges, and incorporates by reference paragraphs 1 through 16.




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19.    The foregoing acts and omissions of Defendant and its employees/agents constitute

       violations of the FCCPA, including, but not limited to, Fla. Stat. §§ 559.72(7) and

       559.72(9).

20.    As a result of Defendant’s violation of the FCCPA, Plaintiff is entitled to a declaratory

       judgment that Defendant’s conduct violated the FDCPA and FCCPA, and recovery for

       actual damages, statutory damages, punitive damages, and attorney’s fees and costs.

                                        RELIEF REQUESTED

       WHEREFORE, Plaintiff prays that this Honorable Court enter judgment against

Defendant for the following:

       a.     Equitable relief in the form of a Declaratory Judgment that Defendant’s acts

              constituted violations of the FDCPA and FCCPA, pursuant to Fla. Stat. §

              559.77(2);

       b.     Actual damages, pursuant to 15 U.S.C. § 1692k(a)(1) and Fla. Stat. § 559.77(2);

       c.     Statutory damages, pursuant to 15 U.S.C. § 1692k(a)(2)(A) and Fla. Stat. §

              559.77(2);

       d.     Punitive damages, pursuant to Fla. Stat. § 559.77(2);

       e.     Costs and reasonable attorney’s fees, pursuant to 15 U.S.C. § 1692k(a)(3) and Fla.

              Stat. § 559.77(2); and

       f.     Such other and further relief that this Court may deem just and proper.

                                       DEMAND FOR JURY TRIAL

       PLEASE TAKE NOTICE that Plaintiff demands trial by jury in this action.

                                                     Respectfully submitted,

                                                     /s/ Joseph B. Battaglia
                                                     G. Donald Golden, Fla. Bar No.: 0137080



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